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                                     April M. Dawkins
                                       Curriculum Vita
                                Email: amdawkin@uncg.edu
                                        NC Docks Link
EDUCATION

Ph.D. 2017        University of South Carolina, School of Library and Information Science
                  Columbia, South Carolina. Library and Information Science
                  Advisor: Dr. Karen W. Gavigan
                  Dissertation: Worth Fighting For: Factors Influencing Selection Decisions in
                  School Libraries
                  Member of NxtWave Cohort, Emerging Leaders in School Librarianship

MLS    2000       North Carolina Central University, School of Library & Information Sciences
                  Durham, North Carolina. School Librarianship.

BA     1993       Meredith College
                  Raleigh, North Carolina. History

CERTIFICATIONS

2002-2022         National Board Certification (ECYA Library Media)
2017-2022         NC Teaching Certification (School Library Media Coordinator: K-12)
2017-2022         NC Teaching Certification (Secondary Social Studies: 9-12)
2017-2022         NC Teaching Certification (Academically/Intellectually Gifted: K-12)

TEACHING and PROFESSIONAL EXPERIENCE

2017-Present      UNC Greensboro, Department of Library and Information Science, Greensboro, NC
                  Assistant Professor. Serve as member of the faculty.

2013-2017         University of South Carolina, School of Library and Information Science, Columbia,
                  SC. Graduate Teaching and Research Assistant. Adjunct and doctoral
                  student.

2015-2017         South Caroliniana Library, University of South Carolina, Columbia, SC.
                  Reference and Circulation Graduate Assistant.

2007-2014         Porter Ridge High School, Union County Schools, Indian Trail, NC.
                  School Librarian. Served as tenured member of the faculty.

2000-2007         Richmond Senior High School, Richmond County Schools, Rockingham, NC.
                  School Librarian. Served as tenured member of the faculty.

1999-2000         Millbrook High School, Wake County Public School System, Raleigh, NC.
                  School Librarian. Served as member of the faculty.

1993-1999         Scotland High School, Scotland County Schools, Laurinburg, NC.
                  Social Studies Teacher. Served as tenured member of the faculty.

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MEMBERSHIP in PROFESSIONAL ORGANIZATIONS

2018-2021             International Association of School Librarians
2019-2020             International Research Society for Children’s Literature
2000-2021             American Association of School Librarians
2000-2021             Young Adult Library Services Association
2000-2021             NC School Library Media Association
2017-2020             NC Library Association
2014-2017             SC Association of School Librarians
2016-2018             Association for Library and Information Science Education

HONORS and AWARDS

2020                  Frances Bryant Bradburn Distinguished Service Award, NCSLMA
2020                  Nominee, UNCG Joyner Alumni Teaching Excellence Award
2019                  AASL Research Grant Award (received for 2019 e-book paper)
2019                  Nominee. UNCG SOE Teaching Excellence Award
2018                  Nominee. UNCG SOE Teaching Excellence Award
2017                  Robert V. Williams Graduate Research Award, SLIS, University of South
                      Carolina
2017                  Top 10 ALISE Doctoral Poster

PUBLICATIONS

Peer-Reviewed Publications

Dawkins, A.M., & Branyon, A.P. (2022). Prepared to defend? Results of a gap analysis to measure
school librarian students’ prior knowledge and learning of intellectual freedom concepts. Journal
of Education for Library and Information Science, 63(2). https://doi.org/10.3138/jelis-63-2-2021-
0046

Dawkins, A.M., & Eidson, E. (2021). A Content Analysis of District School Library Selection Policies
in the United States. School Library Research, 24. http://www.ala.org/aasl/slr/volume24/dawkins-
eidson

Burns, E.A., & Dawkins, A.M. (2021). School librarian preparation and practice: An exploration of
the new standards. School Library Research, 24.
http://www.ala.org/aasl/sites/ala.org.aasl/files/content/pubs/slr/vol24/SLR_SchoolLibrarianPrep
_V24.pdf

Dawkins, A.M., & Gavigan, K.W. (2019). E-book collections in high school libraries: Factors
influencing circulation and usage. School Library Research, 22.
http://www.ala.org/aasl/slr/volume22/dawkins-gavigan

Branyon, A.P., & Dawkins, A.M. (July 2018). Riding the NxtWave to library leadership: Two
participants reflect on their experiences. School Libraries Worldwide, 24(2), 1-16.
https://doi.org/10.14265.24.2.001 .



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Dawkins, A.M. (2018). The decision by school librarians to self-censor: The impact of perceived
administrative discomfort. Teacher Librarian, 45(3),8-12.

Dawkins, A.M., & Gavigan, K. W. (2017). The school librarian's role in writing instruction:
Research, perceptions, and practice. International Journal of Libraries and Information Studies
(LIBRI), 67(4), pp. 299-312. https://doi.org/10.1515/libri-2017-0034 .

Books/Book Chapters/Edited Works

Woolls, B., Valenza, J.K., & Dawkins, A.M. (2022). The School Library Manager: Leading Through
Change. 7th ed. Santa Barbara, CA: Libraries Unlimited.

Dawkins, A.M. (Ed.). (2021) Intellectual freedom issues in school libraries. ABC-CLIO. (**Starred
review in School Library Journal)

Dawkins, A.M. (2021). Ex Post Facto Self-Censorship: When School Librarians Choose to Censor. In
Dawkins, A.M. (Ed.) Intellectual Freedom Issues in School Libraries. Santa Barbara, CA: Libraries
Unlimited.

Dawkins, A.M. (2021). Ten Steps to Creating a Selection Policies That Matters. In Dawkins, A.M.
(Ed.) Intellectual Freedom Issues in School Libraries. Santa Barbara, CA: Libraries Unlimited.

Dawkins, A.M. (2021). Ten Steps to Creating Reconsideration Policies and Procedures That
Matter. In Dawkins, A.M. (Ed.) Intellectual Freedom Issues in School Libraries. Santa Barbara, CA:
Libraries Unlimited.

Dawkins, A.M. (2021). Whose History Is It? Diversity in Historical Fiction for Young Adults. In
Dawkins, A.M. (Ed.) Intellectual Freedom Issues in School Libraries. Santa Barbara, CA: Libraries
Unlimited.

Dawkins, A.M. (2020). Digital Citizenship, Digital Legacy, and School Librarians. In H. Moorefield-
Lang (Ed.), Digital Legacy: Library Technology Report 56(5), 17-21. Chicago, IL: ALA Editions.

Dawkins, A.M. (2017). Fostering the next generation of school library researchers. In S. Alman
(Ed.), School Librarianship: Past, Present, and Future. Rowman & Littlefield.

Other Publications

Dawkins, A.M. (March/April 2022). School Libraries and Student Privacy. School Library
Connection. (Accepted for Publication)

Dawkins, A.M. (March/April 2021). Feeling Triggered? The Good and Bad of Content Warnings.
School Library Connection, 23-24.

Branyon, A.P. & Dawkins, A.M. (September 2020). Why Intellectual Freedom and Equitable
Access Are Even More Important Today. Knowledge Quest, 49(1), 10-17.



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Dawkins, A.M., Gangwish, K., & Harlan, M.A. (May 2020). New School Librarian Preparation
Standards: How Does Reading Fit In? Knowledge Quest, 49(5), 32-38.

Dawkins, A.M. (March 2020). Creating reconsideration policies that matter. School Library
Connection, 12-13.

Dawkins, A.M. & Gavigan, K.W. (March 2020). Exploring eBook Use in High Schools. School
Library Connection, 41-44.

Dawkins, A.M. (October 2018). Ten steps to creating a selection policy that matters. School
Library Connection.

Dawkins, A.M. (October 2017). Ex post facto self-censorship: When school librarians choose to
censor. School Library Connection.

Dawkins, A.M. (May/June 2017). Whose history?: Diversity in young adult historical fiction.
School Library Connection.

PRESENTATIONS

Peer-Reviewed Paper Presentations

Dawkins, A. M. (October 16, 2019). Bridging the Gap: Community College Library Service to Early
College High School students. Paper presented at Library Research Seminar VII sponsored by the
Library Research Round Table (ALA), University of South Carolina, Columbia, SC.

Dawkins, A. M. (August 18, 2019). The Irony of Censorship: Speaking Up and Speaking Out in
Speak and The Hate U Give. Paper presented at International Research Society for Children's
Literature Congress, Stockholm, Sweden.

Juried Panels

2020

Dawkins, A. M. (January 25, 2020). News You Can Use: Introducing the New CAEP Preparation
Standards. Panel presentation at the ALA Midwinter Meeting, American Library Association,
Philadelphia, PA.

2019

Dawkins, A. M., (October 17, 2019). NxtWave: LIS Education Preparing Scholars and Scholar-
Practitioners. Panel presentation at Library Research Seminar VII sponsored by the Library
Research Round Table (ALA), University of South Carolina, Columbia, SC.

2018



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Dawkins, A.M., et al. (February 2018). Protecting Your Pages with Policy: The Unveiling of a
Comprehensive Selection Policy Toolkit. Presentation for the American Library Association
Midwinter Meeting. Denver, CO.

Juried Presentations

Dawkins, A.M., Churchill, S., Soulen, R.R., Branyon, A.P., & Wine, L. (October 22, 2021). Apply
Research to Practice with the NxtWave Scholars. Presentation at the American Association of
School Librarians National Conference. Salt Lake City, UT.

Dawkins, A. M. & Eidson, E. (November 15, 2019). School District Selection and Reconsideration
Policies in the United States. Research poster presentation at the American Association of School
Librarians National Conference. Louisville, KY.

Other Presentations

2021

Dawkins, A.M. (November 2021). Book Challenges and You. Virtual Webinar for the North
Carolina School Library Media Association.

Dawkins, A.M., & Soulen, R. (October 21, 2021). 5 Audits**5 Tools**5 Minutes. Idealab Session
at the American Association of School Librarians. Salt Lake City, UT. (National Conference).

Dawkins, A.M., & Meier, K. (September 2021). Partnerships for Learning: Developing
Relationships Between Universities and Districts. North Carolina Association of School Librarians.
NC.(Virtual conference due to COVID-19).

Dawkins, A.M., Gruer, T. & Sands, L. (September 2021). Fifty Fantastic Finds in Kids Lit. North
Carolina Association of School Librarians. NC. (Virtual conference due to COVID-19).

Dawkins, A.M. (June 2021). Difficult Conversations: What Does Intellectual Freedom Actually Mean in
Today’s World? South Carolina Association of School Librarians. SC (Virtual Summer Conference)

Dawkins, A.M., & Rockwell, J. (September 2021). Censorship in Children’s Services. Virtual
webinar for Charlotte-Mecklenburg Public Library. NC.

Dawkins, A.M. & Gavigan, K.W. (July 2021). Make Your eBooks Fly. International Association of
School Librarians. TX (Virtual Summer Conference).

Dawkins, A.M., Gruer, T., & Sands, L. (July 2021). Passport to Multicultural Literature: Tearing
down the barriers to diversity in literature. International Association of School Librarians. TX
(Virtual Summer Conference).

Dawkins, A.M., & Newsum, J. (July 2021). Exploring the new ALA/AASL/CAEP School Librarian
Preparation Standards. International Association of School Librarians. TX (Virtual Summer
Conference).

Dawkins, A.M. (2021). Evaluating Your Collection for Diversity. Winston-Salem Forsyth County
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Schools. NC. (6-part online webinar series).

2020

Dawkins, A.M., Gruer, T., & Sands, L. (October 2020). Fifty Fantastic Finds in Kids Lit. NC School
Library Media Association. NC (Virtual conference due to COVID-19).

Dawkins, A.M., et al. (April 2020). Introducing the new ALA/AASL/CAEP School Librarian
Preparation Standards. American Associations of School Librarians. Six-part webinar series.

2019

Dawkins, A. M. (November 16, 2019). Expanding Our Horizons: Building Diverse Collections in
School Libraries. American Association of School Librarians. Louisville, KY.

Dawkins, A. M. & Gavigan, K. W. (November 16, 2019). AASL Research Grant Award Recipients.
American Association of School Librarians. Louisville, KY.

Dawkins, A. M., & Wine, L. (November 15, 2019). Fighting Fake News with Visual Literacy.
American Association of School Librarians. Louisville, KY

Dawkins, A.M. (July 2019). Bridging the Gap: Community College Library Services to Early
College High School Students. NC Community College Library Directors’ Institute. Smithfield,
NC.

Dawkins, A.M. (July 2019). Successfully Hosting Library Practicum Students. Invited Panelist, NC
Community College Library Directors’ Institute. Smithfield, NC.

Dawkins, A.M. (March 2019). Bridging the Gap: Community College Library Services to Early
College High School Students. NC Community College Library Association Conference.
Asheville, NC.

Dawkins, A. M. (January 26, 2019). School Library Research: Where We've Been and Where
We're Going. Invited panelist for American Library Association Midwinter Meeting, Seattle,
WA.

2018

Dawkins, A.M. & Wine, L. (November 2018). Fighting Fake News with Visual Literacy. Virginia
Association of School Librarians Conference. Williamsburg, VA.

Dawkins, A.M. (November 2018). Gearing Up for NBPTS Certification Renewal. Virginia
Association of School Librarians Conference. Williamsburg, VA.

Dawkins, A.M. (October 2018). Creating the Amazing School Librarians of the Future. NC
School Library Media Association Conference. Winston-Salem, NC.

Dawkins, A.M. (October 2018). Defending Your Pages with Policy: Developing and Revising your
Selection & Reconsideration Policies. NC School Library Media Association Conference.
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Winston-Salem, NC.

Dawkins, A.M., & Cusick, M. (October 2018). Advocacy Bootcamp. (Half Day Pre-Conference
Workshop). NC School Library Media Association Conference. Winston-Salem, NC.

Dawkins, A. M., (April 18, 2018). Growing Where You are Planted: Transition from Graduate
Student to Faculty. Colloquium panelist. USC School of Library and Information Science,
Columbia, SC.

2017

Dawkins, A.M. (October 2017). Information Literacy and Fake News (Half Day Pre-Conference
Workshop). NC School Library Media Association Conference. Winston-Salem, NC.

Dawkins, A.M. (October 2017). Intellectual Freedom Fighters. NC School Library Media
Association Conference. Winston-Salem, NC.

Dawkins, A.M. (October 2017). Make your eBooks Fly. NC School Library Media Association
Conference. Winston-Salem, NC.

Dawkins, A.M., & Gavigan, K.W. (March 2017). The ESSA and What it Means for School
Librarians. South Carolina Association of School Librarians Conference. Greenville, SC.

2016

Dawkins, A.M., & Hartnett, E. (July 2016). Whose History is it Anyway?: Diversity in Historical
Fiction for Children and Youth. Webinar recorded for American Association of School
Librarians.

Dawkins, A.M., & Gavigan, K.W. (March 2016). Creating Rock Star Writers in Your School.
South Carolina Association of School Librarians Conference, Myrtle Beach, SC.

Dawkins, A.M. (January 2016). News You Can Use - Riding the NxtWave of School Library
Research. Invited panelist. American Library Association MidWinter Meeting, Boston, MA.

2015

Dawkins, A.M., & Branyon, A. (November 2015). Unsuitable for ANY Age: Censorship in School
Libraries. Concurrent session presented at the American Association of School Librarians
Conference, Columbus, OH.

Dawkins, A.M., & Hartnett, E. (November 2015). Whose History is it Anyway?: Diversity in
Historical Fiction for Children and Youth. Concurrent session presented at the American
Association of School Librarians Conference, Columbus, OH.

Dawkins, A.M. (October 2015). Navigating in Shark-Infested Waters: Censorship in School
Libraries. Concurrent session presented at the North Carolina School Library Media Association
Conference, Winston-Salem, NC.

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Dawkins, A.M. (March 2015). Towards a New Synergy: Science and the School Library.
Concurrent session presented at the South Carolina Association of School Librarian’s
Conference, Columbia, SC.

Dawkins, A.M., & Hartnett, E. (February 2015). Whose History is it Anyway?: Diversity in
Historical Fiction. Concurrent session presented at the East Carolina University Librarian to
Librarian Networking Summit, Greenville, NC.

2014

Dawkins, A.M., & LaGarde. J. (October 2014). Leading from the Library. Preconference
workshop presented at the North Carolina School Library Media Association’s Conference,
Winston Salem, NC.

2013

Dawkins, A.M. (October 2013). Leading Your Library Program Through Celebration. Concurrent
session presented at the North Carolina School Library Media Association’s Conference,
Winston Salem, NC.

Dawkins, A.M. & Allen, S. (October 2013). Implementing the NC Young Adult Book Awards
Program in Your School. Concurrent session presented at the North Carolina School Library
Media Association’s Conference, Winston Salem, NC.

Dawkins, A.M. (February 2013). The Common Core in the School Library. Invited Panelist at the
Librarian-to-Librarian Networking Summit, East Carolina University, Greenville, NC.

2012

Dawkins, A.M. (February 2012). Keeping Connected in the School Library. Invited Panelist at the
Librarian-to-Librarian Networking Summit, East Carolina University, Greenville, NC.

2011

Dawkins, A.M. & Christensen, D. (October 2011). Hello: My Name is National Board, Renewed!.
Concurrent session presented at the North Carolina School Library Media Association’s
Conference, Winston Salem, NC.


EXTERNAL GRANT FUNDING

2022           DELTA Scholars Lifelong Learning Program.
               Co-Principal Investigator. Laura Bush/Institute for Museum and Library Services.
               University of North Carolina Greensboro, Greensboro, NC
               ($700,207 Unfunded)

2021           DELTA Scholars Lifelong Learning Program.
               Co-Principal Investigator. Laura Bush/Institute for Museum and Library Services.
               University of North Carolina Greensboro, Greensboro, NC
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               ($522,207 Unfunded)

2018           Take AIM (Advancing Informal Mentoring): Training Librarians in a Community (TLC).
               Principal Investigator. Laura Bush/Institute for Museum and Library Services.
               University of North Carolina Greensboro, Greensboro, NC
               University of West Georgia, Carrollton, GA
               ($485,607 Unfunded)

2017           National Leadership Community Anchors Research Grant.
               Principal Investigator. Institute for Museum and Library Services.
               University of North Carolina Greensboro, Greensboro, NC.
               ($363,113 Unfunded)

2013           NC Emerging Leaders. ABC-CLIO AASL Leadership Grant.
               Principal Investigator.
               North Carolina School Library Media Association.
               ($1,750 Awarded)

2006           Transition to NC Social Studies Standards for Richmond County.
               Principal Investigator. LSTA Collection Development Grant, State Library of NC.
               Richmond County Schools. Hamlet, NC.
               ($22,400 Awarded)

2001           Refreshing the Reference Collection. Principal Investigator. Cole Foundation.
               Richmond Senior High School, Rockingham, NC.
               ($85,000 Awarded)

INTERNAL GRANT FUNDING

2018           Bridging the Gap: Community College Library Service to Early College Students.
               Faculty First Internal Grant. ($5,000 Awarded)

COURSES TAUGHT in HIGHER EDUCATION

2021-present          LIS 688 Seminar in Legal & Ethical Issues in School Libraries (UNCG)
2021-present          LIS 664 Reading, Literacy, & the Library (UNCG)
2017-present          LIS 618 Materials for Adolescents (UNCG)
2017-present          LIS 653 The School Library (UNCG)
2017-present          LIS 670 Educational Foundations for School Librarians (UNCG)
2019-2020             LIS 672 Instructional Design (UNCG)
2014-2017             SLIS 757 Literature for Adolescents (USC)
2017                  SLIS 756 Literature for Children (USC)
2014-2016             SLIS 202 Introduction to Information Literacy and Technology (USC)

SUBJECTS TAUGHT in K12 EDUCATION

United States History, World History, Civics & Economics, Psychology, Advanced Placement (AP)
European History, AP American Government, AP Comparative Government, Broadcasting &
Media Literacy
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UNIVERSITY of NORTH CAROLINA GREENSBORO SERVICE

2021-present       UNCG Academic Policies and Regulations Committee
2021-2022          LIS Department Faculty Student Welfare Committee, Member
2020-present       SOE Faculty Council, Member
2020-present       SOE Research Council, Member
2020-present       SOE Institute for Partnerships in Education (i-PiE) Advisory Board, Member
2019-2020          UNCG Faculty Senate Research Grants Subcommittee, Grant Reviewer
2019               SOE Mentoring Advising and Supervision Award Committee, Member
2018-2019          SOE Online Learning Task Force, Member
2018-2020          SOE Partnership Institute Planning Team, Member
2018-2020          LIS Department Capstone Rubric Revision Committee, Member
2017-present       LIS Department School Library Program Committee, Member
2018               Moss Street School - School Librarian Search Committee, Member
2017-2019          LIS Department Curriculum Committee, Member
2017-2018          LIS Department Faculty Search Committee, Member

SERVICE to the PROFESSION

2021-present       Reviewer, School Libraries Worldwide
2021-present       Reviewer, Journal of Intellectual Freedom & Privacy
2020-present       School Library Research, Editorial Board member
2020-present       AASL National Recognition Task Force member
2018-present       AASL-CAEP Lead Program Reviewer for School Library Programs
2017-present       NCSLMA Intellectual Freedom Committee, Chair
2018-2021          NCLA Intellectual Freedom Committee, Chair
2019-2020          YALSA Margaret A. Edwards Award Committee, Member
2017-2020          ALA Education Assembly, Member
2017-2020          AASL-CAEP Coordinating Committee, Chair
2016-2018          ALA Intellectual Freedom Committee Working Group on Selection Policy
2016-2017          AASL Intellectual Freedom Award Committee, Member
2015-2016          AASL Presidential Think Tank, Member
2014-2015          AASL Leadership Award Committee
2013-2016          NCSLMA Leadership Development Committee, Chair
2013-2014          AASL Region 4 Representative
2012-2013          NC School Library Media Association, President
2011-2013          AASL Affiliate Assembly, Representative
2010-2011          NC School Library Media Association, Secretary
2010-2015          NCSLMA Young Adult Book Award Committee, Member




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